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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 21-0702V


    SHARON WILLIAMS,
                                                              Chief Special Master Corcoran
                         Petitioner,
    v.                                                        Filed: January 23, 2024


    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS 1

        On January 12, 2021, Sharon Williams filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration as a result of an influenza vaccination she received on December 11, 2019.
Petition, ECF No. 1. On July 6, 2023, I issued a decision awarding compensation to
Petitioner based on the parties’ stipulation. ECF No. 33.




1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
inf ormation, the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I
agree that the identified material fits within this definition, I will redact such material f rom public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $8,349.92 (representing $7,801.70 in fees plus $548.22 in costs). Petitioner’s
Application for Fees and Costs (“Motion”) filed Nov. 3, 2023, ECF No. 38. In accordance
with General Order No. 9, counsel for Petitioner represents that Petitioner incurred no
out-of-pocket expenses. Id. at 2. Respondent did not file a response to Petitioner’s Motion
thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates. Furthermore, Petitioner has provided supporting documentation for all
claimed costs. Motion at 14-20. Respondent offered no specific objection to the rates or
amounts sought.

        The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT Petitioner’s Motion for
attorney’s fees and costs. I award a total of $8,349.92 (representing $7,801.70 in fees
plus $548.22 in costs) as a lump sum in the form of a check jointly payable to
Petitioner and Petitioner’s counsel, Leigh Finfer. In the absence of a timely-filed
motion for review (see Appendix B to the Rules of the Court), the Clerk of Court shall
enter judgment in accordance with this Decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
